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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF GEORGIA
     STATESBORO DIVISION

SHEIKEL M. JAMISON,

Petitioner,

v.                    6:11-cv-6

UNITED STATES,

Respondent.

                 ORDER
    Sheikel M. Jamison (“Jamison”) has
moved for a Certificate of Appealability
(“COA”) and for the right to appeal in forma
pauperis (“IFP”). See Doc. 14. The
Magistrate Judge recommended that the
Court dismiss Jamison’s habeas petition.
See Docs. 6 and 9 (collectively, Report and
Recommendation (“R&R”)). The
Magistrate Judge also recommended that the
Court deny Jamison a COA and the ability
to appeal IFP. See Doc. 6 at 7-8. This Court
adopted the R&R on April 27, 2011, and
dismissed Jamison’s case. See Doc. 12.
    Jamison’s present motion is DENIED
for the reasons set forth in the R&R. See
Doc. 6.


This 24th day of May 2011.


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 B AVANT PDENFIELØ, JUDGE
 UNTFEI) STATES DISTRICT COURT
 SOUTHERN DISTRICT OF GEORGIA
